         Case 18-10399 Doc     23 Filed 12/18/18 Entered   12/18/18 11:16:42
                     Desc     Main Document           Page  1 of 4
                          UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF VERMONT


                                                                                         Filed & Entered
                                                                                            On Docket
                                                                                        December 18, 2018

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In re:
      Linda Ellis,                                                          Chapter 13
            Debtor.                                                         Case # 18-10399
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                                   SCHEDULING ORDER
         ON DEBTOR’S MOTION TO DETERMINE VALUE AND MORTGAGE CREDITOR’S OPPOSITION,
                   ADDITIONAL FILINGS, AND CONTINUED CONFIRMATION ORDER
         On October 15, 2018, Linda Ellis (the “Debtor”) filed a motion to determine the value of her real
property and fix the amount of the claim held by the creditor secured by that property (doc. # 15, the
“Motion”). The Motion sought (i) a valuation of $47,000 for the Debtor’s residence at 28 Elm Street,
Rutland, Vermont (the “Property”), (ii) to bifurcate the claim of mortgage creditor Wells Fargo Home
Mortgage (“Wells Fargo”), (iii) to fix the secured portion of Wells Fargo’s claim at $47,000, and (iv) to
authorize the Debtor to pay that secured claim with interest at the reduced rate of 5% per annum. The
Debtor served notice of the Motion under the Court’s default procedure, with an objection deadline of
October 29, 2018, and filed a certificate of service indicating she had served the Motion and notice on
both Wells Fargo Bank, N.A. as the mortgagee, and SN Servicing Corporation, the entity servicing the
mortgage (doc. # 15-4).
         Although no one filed an objection to the Motion by the stated late October deadline, the Court
entered a docket entry indicating the hearing would stay on because it was unclear from the record that the
Debtor had properly served Wells Fargo. This question arose because the Debtor’s certificate of service
(attached to the Motion) contained the correct officer name and street address, but incorrectly stated the
city of Wells Fargo’s location as Los Angeles, California, rather than San Francisco. (The certificate of
service demonstrates the Debtor effected proper service on SN Servicing Corporation.)
         On November 14, 2018, more than two weeks after the deadline for objecting to the Motion, the
mortgage creditor filed an objection to the Motion and, on December 10, 2018, it filed a supplemental
memorandum of law in support of that objection (doc. ## 18, 21, respectively, collectively, the
“Opposition”). The Opposition argues the Debtors’ Motion should be denied on the following grounds:

                                                      1
       Case 18-10399 Doc             23 Filed 12/18/18 Entered                 12/18/18 11:16:42
                   Desc             Main Document           Page                2 of 4



(a) the Motion impermissibly attempts to modify a claim secured only by a security interest in real
property that is the Debtor’s principal residence, contrary to 11 U.S.C. § 1322(b)(2); (b) the Debtor’s
stated valuation of $47,000, based on a November 1, 2016 appraisal, is inadmissible hearsay, is outdated,
and severely undervalues the Property; and (c) Wells Fargo has not had the opportunity to conduct its own
appraisal.
       Wells Fargo also filed an objection, and amended objection, to confirmation of the Debtor’s plan
(doc. ## 17, 21, respectively), arguing, inter alia, (x) the City of Rutland’s 2017 assessment of the
Property, showing a value of $110,600, should control for purposes of determining the value of Wells
Fargo’s collateral and allowance of its secured claim; (y) the Debtor’s proposal to pay the Wells Fargo
claim at a reduced interest rate of 5% fails to meet the standard established by Till v. SCS Credit Corp.,
541 U.S. 465 (2004), and the Debtor should be required to pay the Wells Fargo claim with interest at a
rate between 7.25% and 8.25%, and (z) the Debtor’s plan impermissibly modifies Wells Fargo’s claim
which is secured solely by the Debtor’s principal residence, in violation of § 1322(b)(2).
       On December 14, 2018, the Court held a hearing to address confirmation of the Debtor’s plan and
the Motion, at which Rebecca Rice, Esq., appeared on behalf of the Debtor, Jeffrey White, Esq., appeared
on behalf of Wells Fargo, and Jan Sensenich, Esq., appeared in his capacity as chapter 13 trustee. As a
preliminary matter, the Debtor’s attorney pointed out the need to identify the mortgage creditor in this
case, as it was unclear Wells Fargo now holds the subject mortgage. Attorney White responded that Wells
Fargo transferred the subject mortgage to U.S. Bank just prior to the filing of this case and, going
forward, he would represent U.S. Bank in connection with the mortgage claim. He also asserted he would
soon file a new notice of appearance, indicating he now represents U.S. Bank herein. The record reflects
U.S. Bank filed its proof of claim on November 21, 2018, showing Wells Fargo transferred the mortgage
to it on August 14, 2018 (claim # 5-1, p. 28). Crucial to the issue of service herein, U.S. Bank’s proof of
claim also stated notices related to its claim in this case should be sent to SN Servicing Corporation.
       The Debtor argued service of the Motion had been adequate, since even if there was a defect in the
service on Wells Fargo, notice to SN Servicing Corporation was proper and satisfied all service
requirements. Based on this alleged sufficient service, the Debtor contended the mortgage creditor’s
Opposition to the Motion was untimely and should be overruled on that basis. Attorney Rice indicated she
would research her records and file a statement addressing whether the Debtor had served Wells Fargo at
the correct San Francisco address, to bolster her position the mortgage creditor has waived its right to
oppose either the Motion or the plan that implements the relief the Debtors obtained through the Motion.

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       Case 18-10399 Doc             23 Filed 12/18/18 Entered                  12/18/18 11:16:42
                   Desc             Main Document           Page                 3 of 4



       Attorneys Rice and White also presented arguments with respect to whether the Property is subject
to the anti-modification provisions of § 1322(b)(2), and how the facts and circumstances of the Property
compare to those underlying this Court’s decision in In re Galaske, No. 11-10891, 2011 Bankr. LEXIS
4510 (Bankr. D. Vt. 2011), and the jurisprudence upon which it relied. Because of the recent transfer of
the claim, and the unavailability of a complete file, Attorney White was unable to state whether the
Debtor in fact utilized the Property to generate rental income “at the time of the mortgage transaction,”
whether the lender was under the impression the Property was used “solely as the [Debtor’s] principal
residence,” at the time the loan was made, and whether the original mortgage lender was on notice of the
Property’s use at that time. See id. at *3. Attorney White also requested the Debtor make the Property
available for his client to do an appraisal in the event the Court finds either that the mortgage creditor did
not waive its right to object to the Motion, or the Property is not subject to the anti-modification
provisions of § 1322(b)(2). Attorney Rice agreed to continue the hearing so Attorney White could gather
more information and stated her client would cooperate in the creditor’s appraisal of the Property.
       At this time, there are three open legal issues in this case: (1) whether the Debtors properly served
the Motion on the mortgage creditor; (2) if so, whether the mortgage creditor’s failure to timely object to
the Debtor’s modification of the mortgage terms through the Motion compels denial of the mortgage
creditor’s objection to the plan based on the same modification of the mortgage terms; and (3) if the
mortgage creditor is not barred from seeking relief through an objection to confirmation, at this time,
whether its objection to the Debtor’s modification of the mortgage terms under §1322(b)(2) has merit,
under controlling case law.
       Based on the arguments the Debtor, the mortgage creditor, and the trustee presented at the
December 14, 2018 hearing, and the record in this case, IT IS HEREBY ORDERED that:
   1. by December 28, 2018, the Debtor shall file an affidavit, setting out the details of service of the
      Motion, especially with respect to the city in which Wells Fargo was served; and
   2. by January 3, 2019, the current mortgage creditor, U.S. Bank, shall file a response to the
      Debtor’s affidavit and state its position as to the adequacy of service of the Motion.
After the Debtor files this affidavit and U.S. Bank files its response, the Court will determine whether the
mortgage creditor was adequately served and waived its right to oppose the relief sought in the Motion.
       IT IS FURTHER ORDERED that, if the Court determines the Debtor’s service of the Motion was
inadequate, and the mortgage creditor has not waived its right to oppose the Motion, then
   a. U.S. Bank may arrange for an appraisal of the Property, and the Debtor shall cooperate with the
      creditor and appraiser to ensure the appraisal is completed as swiftly as possible; and

                                                       3
        Case 18-10399 Doc                 23 Filed 12/18/18 Entered                         12/18/18 11:16:42
                    Desc                 Main Document           Page                        4 of 4



    b. If U.S. Bank (i) needs to amend the Opposition it filed, based on the valuation found in a new
       appraisal, or (ii) wishes to file an additional supplement to the Opposition, to address the original
       lender’s knowledge of how the Debtor was using the Property at the time of the mortgage
       transaction, those supplemental pleadings must be filed by February 1, 2019; and
    c. If the Debtor or trustee wishes to respond to U.S. Bank’s amended Opposition or supplement, they
       shall do so by February 8, 2019; and
    d. The parties shall appear at a continued hearing on both plan confirmation and the Debtor’s
       Motion, on February 15, 2019, at 1:30 PM at the U.S. Bankruptcy Court in Rutland, Vermont.
        IT IS FURTHER ORDERED that if, by contrast, the Court determines the Debtor’s service of the
Motion was adequate, and the mortgage creditor has waived its right to oppose either the Motion or the
plan that implements the relief the Debtors obtained through the Motion, then the continued hearing on
February 15, 2019, at 1:30 PM at the U.S. Bankruptcy Court in Rutland, Vermont, shall focus only on
the confirmation of the plan. 1
         SO ORDERED.

                                                                                   _________________________
Burlington, Vermont                                                                Colleen A. Brown
December 18, 2018                                                                  United States Bankruptcy Judge




1
 As there would no longer be any outstanding objections in this scenario, and because the Debtor testified to the proposed plan
payments, if the trustee files a proposed confirmation order prior to 10:00 a.m. on February 14, 2019, the Court may enter the
confirmation order and cancel the February 15th hearing.
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